       Case 1:19-cr-00318-GLR           Document 359        Filed 05/05/20      Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                              *

       V.                                             *       CRIMINAL NO. GLR-19-0318

DANIEL JONES                                          *


                                MEMORANDUM AND ORDER


       Currently pending are Defendant's Motion for Review of Detention Order (ECF

No. 332) (“Motion”), Government’s Opposition to Motion for Review of Detention Order (ECF

No. 337) (“Opposition”), and, in accordance with the court’s Order for Supplemental Briefing

(ECF No. 344), Supplement to Defendant Daniel Jones’s Motion for Review of Detention Order

(ECF No. 349), Government’s Supplemental Response in Opposition to the Defendant’s Motion

for Reconsideration of the Order of Detention (ECF No. 351), Second Supplement to Defendant

Daniel Jones’s Motion for Review of Detention Order (ECF No. 355).          For the reasons stated

below, the Motion (ECF No. 332) is denied.

       A detention hearing was held in this case on September 20, 2019. After both parties

were fully heard, I detailed my reasons for issuing a detention order on the record at the

hearing. I issued an Order of Detention summarizing those reasons (ECF No. 155). Pursuant to

18 U.S.C. § 3142(f), a detention hearing may be reopened if the "judicial officer finds that

information exists that was not known to the movant at the time of the [detention] hearing and

that has a material bearing on the issue whether there are conditions of release that will

reasonably assure the appearance of such person as required and the safety of any other person

and the community." Defendant argues that the COVID-19 Virus Pandemic constitutes changed

circumstances warranting the defendant’s release, particularly in light of the fact that he suffers
       Case 1:19-cr-00318-GLR            Document 359         Filed 05/05/20      Page 2 of 5



from asthma. Defendant, who is housed at the Chesapeake Detention Facility (“CDF”), argues

that, because the virus is present in other institutions, “it seems inevitable that it will spread to

that facility, as well.” (ECF No. 332 at 4). Because concerns relating to the COVID-19

pandemic were not present at the time of the defendant’s original detention hearing, the court

agrees that § 3142(f) allows a reopening of the detention decision.

        The Court “recognize[s] the unprecedented magnitude of the COVID-19 pandemic” and

recognizes that it can constitute new information warranting a reconsideration of a detention

order. United States v. Martin, Crim. No. PWG-19-140-13, ECF No. 209 at 4 (D. Md. Mar. 17,

2020). Notwithstanding these circumstances, however, the decision whether to release an

individual pending trial still requires an individualized assessment of the factors identified in the

Bail Reform Act, 18 U.S.C. § 3142(g). Id. at 5. In that regard, I have reviewed the bases for my

detention order, and I have reweighed the factors under the Bail Reform Act in light of the

current public health emergency, the current COVID-19 situation at the facility where the

defendant is being held, the defendant’s existing medical conditions, and the defendant’s

proposed conditions for release. The record in this case regarding the offenses charged and the

defendant’s background compel me to conclude that conditions of release cannot be fashioned to

address community safety, notwithstanding the potential risk of exposure to the virus that the

defendant faces while detained. The court fully analyzed the § 3142(g) factors at defendant’s

detention hearing. As noted in the court’s detention order, and detailed on the record at the

hearing both by the government and the court, an analysis of these factors overwhelmingly

supported a finding that detention was appropriate.

       As noted at the time of the detention hearing, the nature of the charges are serious -- the

defendant is charged along with 24 other defendants in a drug conspiracy involving the



                                                   2
       Case 1:19-cr-00318-GLR          Document 359        Filed 05/05/20      Page 3 of 5



distribution of substantial amounts of narcotics to include heroin, fentanyl, and crack

cocaine. The defendant was identified during the course of the investigation as having a

significant role as a middleman who coordinated drug deals and was actively involved in the

conspiracy. The weight of the evidence is overwhelming and is supported by wiretap evidence,

physical surveillance, and search warrants conducted at multiple locations. Notably, a search

warrant executed at an address alleged to be the defendant’s residence yielded heroin, cocaine

and cocaine base, and ammunition. The history and characteristics of the defendant also

supported the detention order. At the time of these offenses, the defendant was on federal

supervised release for a felon in possession of a firearm conviction and had just been released

from a halfway house for a separate violation of that supervised release. Indeed, the defendant

now has a pending violation of supervised release petition arising out of this case.

       The defendant has a significant criminal record to include multiple convictions for

Possession with Intent to Distribute Narcotics, attempted murder and a felon in possession of a

firearm conviction. The defendant has a history of non-compliance with community supervision

to include violations of probation and supervised release and a history of continued criminal

activity while on release. Further, the defendant has a history of protective orders and an

outstanding arrest warrant for assault. (ECF Nos. 305, 417 at 5-7). Based upon all of the

above, the court concluded, pursuant to both § 3142 and § 3143 (the heightened standard

applicable given the defendant’s pending violation of supervised release) that, by clear and

convincing evidence that there were no conditions of release which would reasonably assure the

community’s safety. (ECF No. 155). The defendant appealed this court’s detention order to

Judge Russell who, at a hearing held on March 9, 2020, affirmed the detention order relying on

the same factors as this court.



                                                 3
       Case 1:19-cr-00318-GLR           Document 359         Filed 05/05/20      Page 4 of 5



       In his Motion, defendant argues that he should be released because: 1) his living

conditions at CDF do not allow for social distancing, placing him at a higher risk of contracting

the virus; 2) he is at a greater risk of getting very sick from COVID-19 because he has

asthma; and 3) he has proposed release conditions to address concerns regarding danger to the

community. As this court has previously noted, the public health emergency created by COVID-

19 is certainly a concern for all those in detention facilities during this global pandemic. While

the court is concerned for the defendant, and for all others both inside and outside of the

detention facility, these concerns do not constitute a basis upon which to release an individual

who this court has determined poses a threat to the safety of the community. As to procedures in

place at CDF, the government has proffered that comprehensive precautionary measures have

been instituted at CDF to avoid a COVID-19 outbreak. (ECF No. 337 at 6-8). The defendant’s

motion does not challenge these procedures or allege that these practices are insufficient to

address the needs of detainees.

       Nor has defendant made any specific argument, let alone factual proffer, as to why his

medical condition is not being adequately addressed. Indeed, the medical records in this case

clearly establish that his respiratory health is normal and his asthma is being adequately

addressed. (ECF No. 351 at 1). As a result, it appears that the defendant’s medical needs are

being adequately addressed at CDF, (ECF No. 337 at 9), and do not support a reconsideration of

the defendant’s detention order. This court has recently denied motions for release where

detainees have claimed that they had medical conditions, including asthma, that made them

uniquely vulnerable to COVID-19, but have not established that those conditions warrant a

reconsideration of an order of detention. (Id. at 1-2.) (citing authority). Finally, the court has

considered the defendant’s proposed conditions of release (ECF No. 349 at 2-3), and notes that



                                                  4
       Case 1:19-cr-00318-GLR          Document 359        Filed 05/05/20      Page 5 of 5



those conditions are the very same conditions proposed at defendant’s original hearing. The court

concludes now, as it did then, that those conditions of release are inadequate to address

community safety concerns.

       In conclusion, the defendant has not presented any new information that would cause me

to reconsider my Order of Detention in accordance with 18 U.S.C. § 3142(f).1 Based upon the

foregoing, the court concludes that the circumstances proffered by the defendant do not

constitute a basis upon which to release an individual who the court has determined poses a

threat to the safety of the community. Accordingly, Defendant's Motion (ECF No. 332)

is denied.


Date:___5/5/20__________                      _______/s/_____________________________
                                              Beth P. Gesner
                                              Chief United States Magistrate Judge




1
 As noted above, the heightened standard for release set forth in 18 U.S.C. § 3143(a) applies in
this case since the defendant has a pending Violation of Supervised Release petition and, for the
reasons noted, defendant has clearly not met the standard for release under that section, given
that it is a more stringent standard than found in 18 U.S.C. § 3142. Further, although the
defendant has not argued for his temporary release pursuant to 18 U.S.C. § 3142(i), the court has
considered release under that section in accordance with applicable case law, and has determined
that defendant has not satisfied the standard for temporary release.
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